Case 2:04-cv-00396-LED                 Document 115 Filed 04/12/06             Page 1 of 24 PageID #:
                                                 5913



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

                                                            §
 CONNECTEL, LLC                                             §
     Plaintiff                                              §
                                                            §
 vs.                                                        §       CASE NO. 2:04-CV-396
                                                            §
 CISCO SYSTEMS, INC.                                        §
      Defendant                                             §

                                        MEMORANDUM OPINION

       This Memorandum Opinion construes the terms in United States Patent Nos. 6,016,307;

6,144,641; 6,454,594; and 6,473,404.

                                                BACKGROUND

       The ‘307 patent issued January 18, 2000. The ‘641 patent, a continuation of the ‘307 patent,

issued November 7, 2000. The ‘594 patent issued September 24, 2002, also as a continuation of the

‘307 patent. The ‘404 patent issued October 29, 2002 as a continuation of the ‘641 patent. Thus,

all patents share the same specification. The patents generally relate to routing optimization in a

telecommunications switching system. The specification describes “a method and apparatus for

dynamically selecting an optimal telecommunications path from a plurality of available paths in

accordance with an analysis of both static and dynamically changing variables and user priorities.”

‘307 patent, col. 1:7–10.1

       The parties disagree about the very nature of the invention. ConnecTel contends the claims

cover routing decisions for individual packets once a transmission network has been selected. Cisco


       1
           All column and line references are to the ‘307 patent.

                                                           1
Case 2:04-cv-00396-LED            Document 115 Filed 04/12/06               Page 2 of 24 PageID #:
                                            5914



argues the claims are directed at the evaluation and selection of a transmission medium, or network

type, for transferring data. ConnecTel and Cisco also disagree as to whether the measuring,

analyzing, and determining steps occur in connection with transferring a particular data file or

whether those steps generally occur in the “background” of a system without regard to data file

transfer. These disagreements underlie many of the parties’ claim construction arguments.

                                        APPLICABLE LAW

        “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312

(Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc., 381

F.3d 1111, 1115 (Fed. Cir. 2004)). In claim construction, courts examine the patent’s intrinsic

evidence to define the patented invention’s scope. See id.; C.R. Bard, Inc. v. U.S. Surgical Corp.,

388 F.3d 858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc’ns Group, Inc.,

262 F.3d 1258, 1267 (Fed. Cir. 2001). This intrinsic evidence includes the claims themselves, the

specification, and the prosecution history. See Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d

at 861. Courts give claim terms their ordinary and accustomed meaning as understood by one of

ordinary skill in the art at the time of the invention in the context of the entire patent. Phillips, 415

F.3d at 1312-13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003).

        The claims themselves provide substantial guidance in determining the meaning of particular

claim terms. Phillips, 415 F.3d at 1314. First, a term’s context in the asserted claim can be very

instructive. Id. Other asserted or unasserted claims can also aid in determining the claim’s meaning

because claim terms are typically used consistently throughout the patent. Id. Differences among

the claim terms can also assist in understanding a term’s meaning. Id. For example, when a


                                                   2
Case 2:04-cv-00396-LED             Document 115 Filed 04/12/06                Page 3 of 24 PageID #:
                                             5915



dependent claim adds a limitation to an independent claim, it is presumed that the independent claim

does not include the limitation. Id. at 1314–15.

        Claims “must be read in view of the specification, of which they are a part.” Id. (quoting

Markman v. Westview Instruments, Inc., 52 F.3d 967, 978 (Fed. Cir. 1995)). “[T]he specification

‘is always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the single

best guide to the meaning of a disputed term.’” Id. (quoting Vitronics Corp. v. Conceptronic, Inc.,

90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325

(Fed. Cir. 2002). This is true because a patentee may define his own terms, give a claim term a

different meaning than the term would otherwise possess, or disclaim or disavow the claim scope.

Phillips, 415 F.3d at 1316. In these situations, the inventor’s lexicography governs. Id. Also, the

specification may resolve ambiguous claim terms “where the ordinary and accustomed meaning of

the words used in the claims lack sufficient clarity to permit the scope of the claim to be ascertained

from the words alone.” Teleflex, Inc., 299 F.3d at 1325. But, “although the specification may aid

the court in interpreting the meaning of disputed claim language, particular embodiments and

examples appearing in the specification will not generally be read into the claims.” Comark

Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998); see also Phillips, 415 F.3d

at 1323. The prosecution history is another tool to supply the proper context for claim construction

because a patent applicant may also define a term in prosecuting the patent. Home Diagnostics, Inc.,

v. Lifescan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the specification, a patent

applicant may define a term in prosecuting a patent.”).

        Although extrinsic evidence can be useful, it is “less significant than the intrinsic record in

determining ‘the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317 (quoting


                                                    3
Case 2:04-cv-00396-LED            Document 115 Filed 04/12/06               Page 4 of 24 PageID #:
                                            5916



C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court understand

the underlying technology and the manner in which one skilled in the art might use claim terms, but

technical dictionaries and treatises may provide definitions that are too broad or may not be

indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony may aid

a court in understanding the underlying technology and determining the particular meaning of a term

in the pertinent field, but an expert’s conclusory, unsupported assertions as to a term’s definition is

entirely unhelpful to a court. Id. Generally, extrinsic evidence is “less reliable than the patent and

its prosecution history in determining how to read claim terms.” Id.

        The patents in suit also contain means-plus-function limitations that require construction.

Where a claim limitation is expressed in “means plus function” language and does not recite definite

structure in support of its function, the limitation is subject to 35 U.S.C. § 112, ¶ 6. Braun Med., Inc.

v. Abbott Labs., 124 F.3d 1419, 1424 (Fed. Cir. 1997). In relevant part, 35 U.S.C. § 112, ¶ 6

mandates that “such a claim limitation ‘be construed to cover the corresponding structure . . .

described in the specification and equivalents thereof.’” Id. (citing 35 U.S.C. § 112, ¶ 6).

Accordingly, when faced with means-plus-function limitations, courts “must turn to the written

description of the patent to find the structure that corresponds to the means recited in the

[limitations].” Id.

        Construing a means-plus-function limitation involves multiple inquiries. “The first step in

construing [a means-plus-function] limitation is a determination of the function of the means-plus-

function limitation.” Medtronic, Inc. v. Advanced Cardiovascular Sys., Inc., 248 F.3d 1303, 1311

(Fed. Cir. 2001). Once a court has determined the limitation’s function, “the next step is to

determine the corresponding structure disclosed in the specification and equivalents thereof.” Id.


                                                   4
Case 2:04-cv-00396-LED                Document 115 Filed 04/12/06           Page 5 of 24 PageID #:
                                                5917



A “structure disclosed in the specification is ‘corresponding’ structure only if the specification or

prosecution history clearly links or associates that structure to the function recited in the claim.” Id.

Moreover, the focus of the “corresponding structure” inquiry is not merely whether a structure is

capable of performing the recited function, but rather whether the corresponding structure is “clearly

linked or associated with the [recited] function.” Id.

                                               CLAIM TERMS

        Telecommunications path, communications path, and data path

        ConnecTel contends “telecommunications path,” “communications path,” and “data path”

should be construed to mean “the physical and logical resources used to move the user data/traffic

from one switch to another switch or one switch to or from a user, for example, a switch interface,

its associated queues and a transport channel.” Thus, ConnecTel argues the path includes more than

just the transmission medium itself, but also includes the interface and associated queues.

        As stated above, Cisco argues the determination of an optimal “telecommunications path”

refers to a determination of a type of network over which to transfer the data as opposed to

determining the optimal path within a network for data transfer. Cisco proposes the Court construe

the terms to mean “a transmission medium (a network type such as POTS, leased lines, mobile

cellular networks, digital links, fiber optics, satellite links, and private and public packet switching

networks such as the Internet).”2

        The Court agrees with and adopts Cisco’s construction. Thus, “telecommunications path,”

“communications path,” and “data path” are construed to mean “a transmission medium (a network

type such as POTS, leased lines, mobile cellular networks, digital links, fiber optics, satellite links,


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            POTS is “plain old telephone system.” Col. 1:23–24.

                                                        5
Case 2:04-cv-00396-LED          Document 115 Filed 04/12/06             Page 6 of 24 PageID #:
                                          5918



and private and public packet switching networks such as the Internet).”

       The specification teaches a method and apparatus for determining the best medium or

network for transmitting data.        Each interface is “interconnected with an associated

telecommunications path capable of transferring a data file.” ‘307 patent, claim 1, 8:13–16; 3:1–3.

Figure 1 is a block diagram illustrating the telecommunications switching system. Col. 3:54–55.

“The switching system 10 is connected to various telecommunications media in accordance with the

user’s resources.” Col. 3:58–60. Specifically, the system may be connected to a high-speed T1

interface, a wide area network (WAN), a local area network (LAN), a POTS, or a wireless

communications network. Col. 3:60–66. These interfaces are exemplary; “any number of the

aforementioned interfaces may be used alone or in any combination as required by the user.” Col.

3:66–4:4. For example, a user may be connected to common carriers such as MCI, SPRINT, or

AT&T. Col. 4:4–8. A user may also configure a wireless interface for communication by various

electromagnetic means, such as infrared, radio frequency, and the like. Col. 4: 8–11. Thus, the

preferred embodiment is not limited to the particular mediums listed. However, the specification

is clearly directed towards the selection of a particular network as opposed to routing decisions

within a network. This also conforms with the specification’s description of the prior art’s

deficiencies in which choices between different networks were being made (not routing with a

network). Col. 1:11–2:37. Further, “an object of the present invention is to overcome the

shortcomings of the prior art systems as described above.” Col. 2:38–40.

       The specification does not disclose the selection of an optimal route within a given network.

The specification specifically contemplates that the paths are networks, not paths within a network.

Repeated references are made within the specification to “paths” in which the path is considered to


                                                 6
Case 2:04-cv-00396-LED          Document 115 Filed 04/12/06             Page 7 of 24 PageID #:
                                          5919



be a network such as, the disclosed T1, LAN, WAN, POTS, and Wireless networks. For example

the “path analysis block 24” makes an analysis of each of the different networks not an analysis

within a network. Col. 4:12–23; Figure 1. Further, the routing optimization described within the

specification is directed towards selecting one of the T1, LAN, WAN, POTS, and Wireless networks,

and the specification describes this as a “path” selection “by employing the multi-protocol routing

optimization of the present invention, the path chosen for transmission of a data file takes into

account parameters which vary in real-time, thus not relying on a simple preprogrammed look-up

table of low cost providers as in the prior art.” Col. 5:3–8. Likewise the parameters of Table A and

Table B of the specification are parameters of each network as whole as opposed to parameters of

individual routes within a network and these parameters and the values derived from these

parameters are repeatedly referred to as properties of the “paths.” Col. 4:13–65; 5:12–6:9. Likewise

the flowcharts of Figures 2 and 3 (which relate to choosing between the T1, LAN, WAN, POTS, and

Wireless networks) are “flowcharts of the methodology employed by the present invention in

arriving at the optimal choice for routing a data file amongst a plurality of available paths in

accordance with the present invention.” Col. 6:54–57. Also, a ping test can be used to test the

latency for each path. Col. 6:1–9. “The ping routine sends a packet onto the network and obtains

a value of the average delay encountered by that packet in reaching the destination and returning.

Col. 6:4–7 (emphasis added).

       Statements the Applicant made during prosecution of the ‘307 patent confirm this

understanding of the medium is correct. The Applicant distinguished his system from a prior art

system, Derby, that was concerned with “mov[ing] packets of information around a network faster”:

       Derby is interested in network packet switching, once the data file has in fact been
       formatted in packets and provided to the network. The applicant’s invention is

                                                 7
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06               Page 8 of 24 PageID #:
                                           5920



       intended to select an appropriate transmission medium (i.e. wireless, WAN, POTS,
       etc.) in accordance with measured variables, predetermined parameters, associated
       with that medium, and properties of the data file itself. Therefore, Derby is
       concerned with merely routing packets in a network, once that network (interface)
       has been selected.

‘370 patent application, Amendment 6/19/1998, p. 8.

       ConnecTel argues this interpretation of the prosecution history is incorrect. ConnecTel

contends the Applicant argued, without disavowing path selection within a network, that the

combination of Derby and Kobayashi, other prior art, did not teach or suggest the claimed invention.

ConnecTel is correct that the excerpt above is taken from an exchange with the Examiner in which

the Applicant argued his invention was not obvious in light of Kobayashi and Derby. But ConnecTel

misinterprets the exchange: “The Applicant clearly stated that Derby is only involved with the

interhop transfers after the initial selection of services to be utilized, and that Derby performs such

an interhop transfer analysis and determination in a different way from the Applicant’s invention.”

See ConnecTel’s Reply Brief, p. 5. Thus, ConnecTel contends the Applicant did not clearly disavow

that the invention could be used within a network for routing packets.

       The Applicant stated that “there is clearly no motivation to even combine the cited

references. Even if one were to combine the references, the applicant’s invention would not result.”

‘370 patent application, Amendment 6/19/1998, p. 8. The Applicant distinguished Kobayashi

because Kobayashi used static parameters to determine route selection and did not look at the

properties of the file to be transferred. Id. at 7. Derby looked at the available bandwidth and

network loads for path selection and also did not examine the data file properties or static

parameters. Id. at 8. It was in this context that the Applicant stated:

       In fact, knowledge of properties of the data file being transferred is not even useful
       to Derby because Derby is interested in network packet switching, once the data file

                                                  8
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06               Page 9 of 24 PageID #:
                                           5921



       has in fact been formatted in packets and provided to the network. The applicant’s
       invention is intended to select an appropriate transmission medium (i.e. wireless,
       WAN, POTS, etc.) in accordance with measured variables, predetermined
       parameters, associated with that medium, and properties of the data file itself.
       Therefore, Derby is concerned with merely routing packets in a network, once that
       network (interface) has been selected.

Id. In this exchange, the Applicant does not merely clearly disavow the scope of any claim but

delineates the limits of the claimed invention. The Applicant clarifies that the “invention is intended

to select and appropriate transmission medium (i.e. wireless, WAN, POTS, etc.)” rather than

“routing packets in a network, once that network (interface) has been selected.”

       ConnecTel also argues that this view of the invention is incorrect since the specification

teaches that all of the interfaces may be the same. See col. 4:2–4. As discussed above, this

description in the specification is consistent with the Court’s construction. The specification does

teach that “any number of the aforementioned interfaces may be used alone or in any combination

as required by the user.” Col. 4:2–4. The specification then goes on to teach that the invention may

be used to select from a number of common carriers such as MCI, AT&T, and SPRINT. Col. 4:4–8.

A user may also use the invention to select the optimal wireless interface such as infrared, radio

frequency, and the like. Col. 4:8–11. Thus, although the networks may all be of the same type, the

invention is still used to select which of the networks is the optimal network.

       Predetermined parameters

       In its briefing, ConnecTel argued “predetermined parameters” should be construed to mean

“those parameters whose values are fixed, vary over relatively long periods of time, or are set by

external actions, e.g. user input.” Cisco contended “predetermined parameters” “refers to parameters

of the paths that are fixed and not measured.” During the hearing, the parties agreed to construe

“predetermined parameters” as “parameters of the paths that are stored in memory and not

                                                  9
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06              Page 10 of 24 PageID #:
                                            5922



measured.” The Court agrees that this is an appropriate construction and adopts it.

       Variable parameters and Measurable parameters

       ConnecTel contends “variable parameters” and “measurable parameters” should be construed

to mean “those parameters whose values can vary over relatively short periods of time.” Cisco

argues “variable parameters” and “measurable parameters” “refer[] to parameters of the paths that

can vary and are measured.” The parties’ disagreement on this term is whether the variation in value

must occur over short periods of time. ConnecTel argues that the variable parameters discussed in

the preferred embodiment—$presentstate, $avgstate, $latency, $time, and $availbandwidth—vary

over a short period of time. ConnecTel’s limitation of “short periods of time” is vague and

unsupported by the specification. Although the variable parameters described in the specification

are likely to vary over short periods of time, there is no requirement in the claims or specification

that they must vary over short, as opposed to long, periods of time. Accordingly, the Court rejects

this limitation. The Court adopts Cisco’s construction and construes “variable parameters” and

“measurable parameters” to mean “parameters of the paths that can vary and are measured.” This

comports with the common meaning of the terms.

       Analyzing a property of the data file to be transferred and similar phrases

       ConnecTel proposes that the Court construe “analyzing a property of the data file to be

transferred” to mean “quantitatively or qualitatively observing a characteristic of the data file being

transferred, e.g., size, security requirement not including a phone number.” ConnecTel argues that

one skilled in the art would interpret “analyzing” to mean “observing” and “observe” is synonymous

with the plain meaning of “analyze,” which is to “study or determine.” ConnecTel also contends the

relevant “properties of the data file” are found in the header or control information of data or a data


                                                  10
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06               Page 11 of 24 PageID #:
                                            5923



file. Furthermore, because the data properties include quantitative factors, such as data size, and

qualitative factors, such as the type of file, analyzing a property of the data file involves observing

such quantitative or qualitative factors.

       Cisco contends “analyzing a property of the data file to be transferred” means “studying the

data file itself, and does not include referencing a data packet header or destination information. The

data file may be transmitted in any of various formats (a data file, data packets, encapsulated packets,

or data streams).” During the hearing, ConnecTel conceded to the use of “studying” rather than

“quantitatively or qualitatively observing.” The Court modifies Cisco’s proposed construction and

construes “analyzing a property of the data file to be transferred” to mean “studying the data file

itself but does not include referencing destination information. The data file may be transmitted in

any of various formats (a data file, data packets, encapsulated packets, or data streams).”

        In the specification, the Inventor defined “data file” to include “data file, data packets,

encapsulated packets, or data streams.” Col. 1:16–19 (“Data may be transmitted in any of various

formats, such as a data file, data packets, encapsulated packets, or data streams (referred to herein

as a data file).”). Thus, unless there is a clear disavowal in the file history, “analyzing a data file”

must include analyzing a data packet. The Applicant’s reference to Derby in the prosecution history

does not show a clear disavowal that the term data file does not include “data packet.” ‘370 patent

application, Amendment 6/19/1998, p. 7–8. This portion of the file history directed to Derby is more

properly interpreted toward distinguishing the difference between making packet decisions within

a network and “the initial selection of the services to be utilized.” See id. at 8. Thus, this portion

of the file history impacts the construction of “telecommunication path,” but it does not constitute

a clear disavowal that the term “data file” no longer includes a “data packet” as stated in the


                                                  11
Case 2:04-cv-00396-LED          Document 115 Filed 04/12/06              Page 12 of 24 PageID #:
                                           5924



specification.

       Although a data packet typically includes a header containing destination information,

studying the data file does not include referencing destination information. During prosecution, the

Applicant stated that neither Kobayashi or Derby “utilizes a property of the data file being

transferred.” Id. at 8. Kobayashi taught a method for connecting phone calls and thus utilized the

destination telephone number in selecting the appropriate path. Id. at 7. Since Kobayashi used

telephone numbers but did not use properties of the data file, the telephone number cannot be a

property of the data file. Further, even if Kobayashi was extended to include a line terminal rather

than a telephone, Kobayashi would still not utilize a property of the data file. Id. According to the

Applicant, Derby was directed at routing packets within a network, which would necessarily require

destination information, but Derby did not utilize properties of the data file. Id. at 7–8. Thus,

destination information cannot be a property of the data file. Finally, Figure 1 depicts “Destination

#” as separate from “Data File 30.”

       Accordingly, the Court construes “analyzing a property of the data file to be transferred” to

mean “studying the data file itself but does not include referencing destination information. The data

file may be transmitted in any of various formats (a data file, data packets, encapsulated packets, or

data streams).” Since it was not clearly disavowed during prosecution, this includes analyzing a data

packet. Because there is evidence of a clear disavowal during prosecution, “analyzing a property of

the data file to be transferred” does not include referencing destination information.

       Measuring variable parameters and similar phrases

       ConnecTel argues “measuring variable parameters” and similar phrases should be construed

as “observing and quantifying a parameter whose value can vary over relatively short periods of time


                                                 12
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06              Page 13 of 24 PageID #:
                                            5925



at or about the time of transfer.” Cisco contends the term should be construed to mean “in

connection with the data file to be transferred, ascertaining the measurements of said variable

parameters for each of said paths at or about the time of transfer of the data file.” Thus, ConnecTel

and Cisco agree that the measuring is done at or about the time of transfer, but disagree as to whether

it is done connection with a particular data file to be transferred or whether it occurs in the

background unrelated to the transfer of a data file.

       The Court modifies Cisco’s proposed construction and construes “measuring variable

parameters” to mean “ascertaining the measurements of said variable parameters for each of said

paths at or about the time of transfer.” ConnecTel’s construction incorporates its construction of

“variable parameters.” As that term has already been construed, it is unnecessary to reconstrue that

term here. Neither the claims, the specification, nor the prosecution history require that the

measurement of the variable parameters be done in connection with a data file to be transferred. The

claims themselves do not require a certain order of the steps. See Altiris, Inc. v. Symantec Corp., 318

F.3d 1363, 1369-72 (Fed. Cir. 2003) (discussing proper application of the rule from Interactive Gift

Express, Inc. v. Compuserve, Inc., 256 F.3d 1323, 1342-43 (Fed. Cir. 2003): “Unless the steps of a

method actually recite an order, the steps are not ordinarily construed to require one. However, such

a result can ensue when the method steps implicitly require that they be performed in the order

written.”). Cisco argues that the sequence of steps is implied by the nature of the invention itself.

Specifically, Cisco argues that because the measurements are done in real-time at or about the time

the data file is transferred, see col. 4:17–23, the measurements must be done in connection with a

particular file to be transferred. Such a cause and effect relationship is not required for the

measurements to be done if real-time. If the variable parameters were constantly measured, their


                                                  13
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06               Page 14 of 24 PageID #:
                                            5926



values would be in real-time as to any file to be transferred. Further, one of the variable parameters,

$avgstate(i), is the “average of $presentstate(i) over prior five minute window.” Col. 4:57–58. Thus,

unless there is a five-minute delay between selecting the file for transfer and the actual transfer, the

specification contemplates that the measurements of at least $avgstate(i) will be done without a

connection to any particular data file to be transferred. Accordingly, the Court rejects Cisco’s

limitation that the measurements must be performed “in connection with the data file to be

transferred.”

       Analyzing variable and predetermined parameters and similar phrases

       Although both parties originally proposed different constructions for this term, during the

hearing they agreed it does not require construction in light of the other similar and related terms the

Court will construe. The Court agrees.

       Determining which of said paths . . . and similar phrases

       In its briefing, ConnecTel urged that this term be construed to mean “the process of

evaluating and selecting the telecommunications path(s) that maximizes a set of criteria with respect

to the path predetermined parameters, the path variable parameters, and the properties of the data to

be transferred.” In its briefing, Cisco argued the term should be construed as: “In connection with

the data file to be transferred and at or about the time of transfer, evaluating and selecting (based

upon a relative comparison, as opposed to a discrete yes/no inquiry) the best telecommunications

path for transferring the file to the remote destination in accordance with said analyzed variable

parameters and predetermined parameters and said analyzed data file property. The evaluating and

selecting of the best telecommunications path does not include routing packets in a network, once

that network has been selected.” During the hearing, the parties agreed to a modified version of


                                                  14
Case 2:04-cv-00396-LED          Document 115 Filed 04/12/06               Page 15 of 24 PageID #:
                                           5927



Cisco’s construction: “In connection with the data file to be transferred and at or about the time of

transfer, evaluating and selecting (based upon a relative comparison, as opposed to a discrete yes/no

inquiry) the telecommunications path that maximizes a set of criteria for transferring the file to the

remote destination in accordance with said analyzed variable parameters and predetermined

parameters and said analyzed data file property.” The Court agrees with the parties’ construction.

ConnecTel and Cisco could not reach agreement as to whether the last sentence of Cisco’s original

proposed construction should be included. Cisco argues the last sentence is necessary to restate the

nature of the invention. Because the last sentence of Cisco’s original construction has already been

addressed in the Court’s construction of “telecommunications path,” it is unnecessary here.

Accordingly, the Court does not include it in the Court’s construction.

       The remote destination

       In its briefing, ConnecTel proposed “the remote destination” be construed to mean “an

intermediate or end destination of the user data/traffic.” Cisco proposed “the remote destination”

means “the endpoint to which the data file is to be transferred.” During the hearing, the parties

agreed that this construction hinges on the Court’s construction of “telecommunications path” and

whether “telecommunications path” refers to a network (or interface) or the routing path within a

network or interface. Since the construction of “telecommunications path” will determine whether

“the remote destination” includes intermediate destinations, the parties agreed this term does not

require construction. The Court agrees.

       Cost per unit time

       Although both parties originally proposed different constructions for this term, during the

hearing they agreed it does not require construction. The Court agrees.


                                                 15
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06               Page 16 of 24 PageID #:
                                            5928



       Available

       Although both parties originally proposed different constructions for this term, during the

hearing they agreed it does not require construction. The Court agrees.

       Means for measuring the value of a variable parameters associated with each of said
telecommunications paths

       ConnecTel and Cisco agree this term is subject to § 112 ¶ 6 and that the claimed function is

“measuring the value of a variable parameter associated with each of said telecommunications

paths.” In their briefing, the parties identified similar corresponding structures that perform this

function. During the hearing, they announced that they agree the corresponding structure is “the

software utility that performs a ping test or show interface test (col. 7:49–64) or other techniques for

determining latency known in the art as of October 31, 1996.” The Court agrees.

       Processor means . . . for determining which of said plurality of telecommunications paths
should be utilized for transferring the data file in accordance with said data file property, said
predetermined telecommunications path parameters, and said measured variable parameters

       ConnecTel proposes these terms be construed to mean “a processor that performs the process

of evaluating and selecting the telecommunication path(s) that maximizes a set of criteria with

respect to the path predetermined parameters, the path variable parameters, and the properties of the

data to be transferred.” ConnecTel argues that the term itself recites sufficient structure such that

it is not subject to 35 U.S.C. § 112, ¶ 6. According to ConnecTel, a person of skill in the art would

find that the word “processor” has a readily identifiable meaning that does not require resort to the

specification for structure. However, if the Court determines the term is governed by § 112, ¶ 6,

ConnecTel argues the term should not be restricted to the algorithm disclosed in the specification

unless WMS Gaming v. International Game Technology, 184 F.3d 1339 (Fed. Cir. 1999), applies.

       Cisco argues this term should be construed under 35 U.S.C. § 112, ¶ 6. Cisco contends the

                                                  16
Case 2:04-cv-00396-LED          Document 115 Filed 04/12/06              Page 17 of 24 PageID #:
                                           5929



claimed function is “determining which of said plurality of telecommunications paths should be

utilized for transferring the data file in accordance with said data file property, said predetermined

telecommunications path parameters, and said measured variable parameters.” According to Cisco,

the proper construction of this function includes Cisco’s proposed constructions for the “analyzing,”

“measuring,” and “determining” steps. Cisco argues the structure corresponding to the claimed

function is “a microprocessor programmed with the algorithms provided in the specification as set

forth in col. 5, ln. 12-67, including the following equations, and also the corresponding tables and

further description in columns 6 and 7:

$finalvalue(i) = $prevalue(i) + $currentvalue(i) where $prevalue(i)=           $maxbandwidth(i) +

$reliability(i)+$economy(i)+      $security(i)(1)      and      $currentvalue(i)=$economy(i)        X

$speed(i)+$avgstate(i) X 10 where $speed(i)=10,000-($datasize(i) $latency(i) X 100)(2) so that:

$currentvalue(i)=$economy(i) (10,000-($datasize(i) X $latency(i) X 100)+$avgstate(I).”

       Thus, the threshold construction issue is whether the term is a means-plus-function term

subject to § 112, ¶ 6. ConnecTel argues that a “processor” is well known but does not cite any

structure of the claim element apart from “processor” as structure. ConnecTel notes that the

specification teaches the routing optimization block 26 may be implemented in a microprocessor.

See col. 5:12–14. However, ConnecTel does not point to any other structure recited in the claim to

take it out of 35 U.S.C. § 112, ¶ 6. ConnecTel ultimately relies on the argument that a “processor”

by itself is sufficient to avoid the presumption of a means element. Other courts have found that a

“processor” by itself is not sufficient structure to avoid § 112, ¶ 6. Most recently, in Harris Corp.

v. Ericsson Inc., 417 F.3d 1241, 1248–49, 1253–54 (Fed. Cir. 2005), the Federal Circuit found

“processing means” invoked § 112, ¶ 6.


                                                 17
Case 2:04-cv-00396-LED          Document 115 Filed 04/12/06              Page 18 of 24 PageID #:
                                           5930



       Since “processor” is not adequate structure to take this claim out of the § 112, ¶ 6

requirements, the Court construes this term as a means-plus-function term under 35 U.S.C. § 112,

¶ 6. The function is “determining which of said plurality of telecommunications paths should be

utilized for transferring the data file in accordance with said data file property, said predetermined

telecommunications path parameters, and said measured variable parameters” as those terms have

been previously construed. The Court must next determine how much, if any, of the disclosed

algorithm is required corresponding structure. Cisco argues the entire algorithm is required;

ConnecTel argues the algorithm is not required unless WMS Gaming applies. As in Harris, the‘307

patent teaches a microprocessor. See col. 5:12-14. Following Harris, the algorithm seems to require

inclusion. See Harris, 417 F.3d at 1253–54; WMS Gaming, 184 F.3d at 1348-49. ConnecTel does

not adequately rebut the application of Harris and WMS Gaming to this term.

       The specification indicates that the algorithm “utilizes two main components comprising the

parameters set forth in the Tables A and B above in varying combinations.” Col. 5:12–16. These

components are “a measure of an inherent efficiency and desirability of a particular

telecommunications path” and a component that “is based in part upon real-time parameters that may

exhibit a wide variance.” Col. 5:16–18; 5:32–33. Cisco wants to incorporate the specific equations

given in column 5. In Harris, the court stated “Aspects of this algorithm can vary based on

implementation, as the specification implies.” Harris, 417 F.3d at 1254. Accordingly, the court

then excluded some details of the algorithm when the specification noted allowable variation.

Similarly, the specification here states that the weighting of the parameters may vary. Col. 6:10-23.

Further, the specification states, “In another form of parameter weighting, the user may also force

the program to ignore certain parameters and focus on one parameter only in arriving at a routing


                                                 18
Case 2:04-cv-00396-LED           Document 115 Filed 04/12/06              Page 19 of 24 PageID #:
                                            5931



decision.” Col. 6:28-39. The specification goes on to teach that “[o]ther permutations and variations

of the above example can be easily derived by one of skill of the art.” Col. 6:40-45. Accordingly,

the specification does not restrict the algorithm to the specific equations given in the specification.

The corresponding structure is a “processor implementing an algorithm that utilizes two main

components comprising the parameters set forth in the Tables A and B above in varying

combinations, the two components being (1) a measure of an inherent efficiency and desirability of

a particular telecommunications path and (2) a component that is based in part upon real-time

parameters that may exhibit a wide variance.”

                                          CONCLUSION

       For the foregoing reasons, the Court interprets the claim language in this case in the manner

set forth above. For ease of reference, the Court’s claim interpretations are set forth in a table as

Appendix B. The claims with the disputed terms in bold are set forth in Appendix A.

        So ORDERED and SIGNED this 11th day of April, 2006.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE




                                                  19
Case 2:04-cv-00396-LED                Document 115 Filed 04/12/06                     Page 20 of 24 PageID #:
                                                 5932



                                                  APPENDIX A

                                           U.S. PATENT NO. 6,016,307
1. In a telecommunications switching system comprising a plurality of interfaces, each of said interfaces interconnected
with an associated telecommunications path capable of transferring a data file from a first memory to a remote
destination, each of said telecommunications paths having predetermined parameters associated therewith stored in
a second memory in said switching system and variable parameters associated therewith, a method of determining
which of said plurality of telecommunications paths should be utilized for transferring the data file from said first
memory, said method comprising the steps of:
a) analyzing a property of the data file to be transferred;
b) measuring said variable parameters for each of said paths;
c) analyzing said measured variable parameters and said predetermined parameters; and
d) determining which of said paths provides an optimal set of characteristics for transferring the file to the remote
destination in accordance with said analyzed variable parameters and predetermined parameters and said
analyzed data file property.

6. The method of claim 2 in which said telecommunications path predetermined parameters comprises the cost per unit
time of utilizing said path.

12. The method of claim 1 comprising the additional step of first ascertaining if an interface is available prior to
performing said analysis.

14. A telecommunications switching system comprising:
a) a first memory for holding a data file to be transferred to a remote destination, said data file having at least one
associated property;
b) a plurality of interfaces coupled with said first memory, each of said interfaces interconnected with an associated
telecommunications path capable of transferring the data file with the remote destination;
c) a second memory for storing predetermined parameters associated with each of said telecommunications paths;
d) means for measuring the value of a variable parameter associated with each of said telecommunications paths;
and
e) processor means operatively associated with said first and second memories and said variable parameter
measuring means for determining w hich of said plurality of telecommunications paths should be utilized for
transferring the data file in accordance with said data file property, said predetermined telecommunications path
parameters, and said measured variable parameters.

15. The system of claim 14 further comprising a third memory for storing a set of user priorities regarding the
transmission of data files, and wherein said processor means determines which of said plurality of
telecommunications paths should be utilized for transferring the data file in accordance with said user priorities.

                                            U.S. PATENT NO. 6,144,641
1. In an apparatus comprising a plurality of interfaces, each of said interfaces interconnected with an associated data
path capable of transferring data towards a remote destination, each of said data paths having predetermined
parameters associated therewith stored in memory and variable parameters associated therewith, a method of
determining which of said plurality of data paths should be utilized for transferring the data towards the remote
destination, said method comprising the steps of:
a) analyzing a property of the data to be transferred;
b) measuring a variable parameter for at least one path;
c) analyzing said measured variable parameter and said predetermined parameters; and
d) determining which of said paths provides an optimal set of characteristics for transferring the data towards
the remote destination in accordance with said analyzed variable parameter, predetermined parameters, and
analyzed data property.




                                                          20
Case 2:04-cv-00396-LED                Document 115 Filed 04/12/06                     Page 21 of 24 PageID #:
                                                 5933


                                              U.S. PATENT NO. 6,454,594
1. In a communications switching system comprising a plurality of interfaces, each of the interfaces interconnected with
an associated communications path capable of transferring a data file to a remote destination, each of the
communications paths having predetermined parameters associated therewith stored in a memory in the switching system
and variable parameters associated therewith, a method of determining which of the plurality of communications paths
should be utilized for transferring a data file, the method comprising the steps of:
a) analyzing a property of the data file to be transferred;
b) measuring said variable parameters for each of said paths;
c) analyzing the measured variable parameters and the predetermined parameters; and
d) determining which of the paths provides an optimal set of characteristics for transferring the file to the remote
destination in accordance with the analyzed variable parameters and the analyzed data file property.

2. The method of claim 1 in which the determining step analyzes a set of programmed user priorities in determining
which of the paths provides the optimal set of characteristics for transferring the file to the remote destination.

                                             U.S. PATENT NO. 6,473,404
69. In an apparatus comprising a plurality of interfaces, each of said interfaces interconnected with an associated data
path capable of transferring data towards a remote destination, each of said data paths having predetermined
parameters associated therewith stored in a memory and variable parameters associated therewith, a method of
servicing the data by examining the data and determining which of said plurality of data paths should be utilized for
transferring the data towards the remote destination, said method comprising:
a) analyzing a property of the data to be transferred;
b) measuring a first and second variable parameter for at least one path;
c) analyzing said measured first and second variable parameters and said predetermined parameters;
d) determining which of said paths provides an optimal set of characteristics for transferring the data towards
the remote destination in accordance with said analyzed first variable parameter, predetermined parameters, and
analyzed data property;
e) determining whether said optimal data path is available according to said measured second variable parameter;
f) retaining the data in the memory if said optimal data path is not available;
g) transferring the data toward the remote destination;
h) suspending the data transfer if a request to service other data is received; and
 i) resuming the data transfer.




                                                          21
Case 2:04-cv-00396-LED                Document 115 Filed 04/12/06                     Page 22 of 24 PageID #:
                                                 5934



                                                APPENDIX B

      Terms To Be Construed                                        Court's Construction

 telecommunications path, data          A transmission medium (a network type such as POTS, leased lines,
 path, and communications path          mobile cellular networks, digital links, fiber optics, satellite links, and
                                        private and public packet switching networks such as the Internet).
 ‘307 patent, claims 1, 14
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
 predetermined parameters               AGREED: Parameters of the paths that are stored in memory and not
                                        measured.
 ‘307 patent, claims 1, 14
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
 variable parameters and                Parameters of the paths that can vary and are measured.
 measurable parameters

 ‘307 patent, claims 1, 14
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
 analyzing a property of the data       Studying the data file itself but does not include referencing destination
 file to be transferred and similar     information. The data file may be transmitted in any of various formats (a
 phrases                                data file, data packets, encapsulated packets, or data streams).

 ‘307 patent, claim 1
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
 measuring said variable                Ascertaining the measurements of said variable parameters for each of
 parameters for each of said paths      said paths at or about the time of transfer.
 and similar phrases

 ‘307 patent, claim 1
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
 analyzing said measured variable       AGREED- no construction necessary
 parameters and said
 predetermined parameters and
 similar phrases

 ‘307 patent, claim 1
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
  determining which of said paths       PARTIALLY AGREED: In connection with the data file to be
 provides an optimal set of             transferred and at or about the time of transfer, evaluating and selecting
 characteristics for transferring       (based upon a relative comparison, as opposed to a discrete yes/no

                                                        22
Case 2:04-cv-00396-LED                  Document 115 Filed 04/12/06                   Page 23 of 24 PageID #:
                                                   5935



      Terms To Be Construed                                         Court's Construction

 the file to the remote destination       inquiry) the telecommunications path that maximizes a set of criteria for
 in accordance with said analyzed         transferring the file to the remote destination in accordance with said
 variable parameters and                  analyzed variable parameters and predetermined parameters and said
 predetermined parameters and             analyzed data file property.
 said analyzed data file property
 and similar phrases

 ‘307 patent, claims 1, 14
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69
 the remote destination and similar       AGREED- no construction necessary
 phrases

 ‘307 patent, claims 1, 14
 ‘594 patent, claim 1
 ‘641 patent, claim 1
 ‘404 patent, claim 69

 cost per unit time of utilizing said     AGREED- no construction necessary
 path

 ‘307 patent, claim 6
 available                                AGREED- no construction necessary

 ‘307 patent, claim 12
 ‘404 patent, claim 69
 means for measuring the value of         AGREED-
 a variable parameter associated
 with each of said                        The claimed function is measuring the value of a variable parameter
 telecommunications paths                 associated with each of said telecommunications paths.

 ‘307 patent, claim 14                    The structure corresponding with the claimed function is the software
                                          utility that performs a ping test or show interface test (col. 17:49-64) or
                                          other techniques for determining latency known in the art as of October
                                          31, 1996.
 processor means operatively              The claimed function is determining which of said plurality of
 associated with said first and           telecommunications paths should be utilized for transferring the data file
 second memories and said                 in accordance with said data file property, said predetermined
 variable parameter measuring             telecommunications path parameters, and said measured variable
 means for determining which of           parameters.
 said plurality of
 telecommunications paths should          The structure corresponding with the claimed function is processor
 be utilized for transferring the         implementing an algorithm that utilizes two main components comprising
 data file in accordance with said        the parameters set forth in the Tables A and B above in varying
 data file property, said                 combinations, the two components being (1) a measure of an inherent
 predetermined                            efficiency and desirability of a particular telecommunications path and (2)
 telecommunications path                  a component that is based in part upon real-time parameters that may
 parameters, and said measured            exhibit a wide variance.
 variable parameters


                                                         23
Case 2:04-cv-00396-LED        Document 115 Filed 04/12/06      Page 24 of 24 PageID #:
                                         5936



      Terms To Be Construed                     Court's Construction


 ‘307 patent, claims 14




                                          24
